 Case 2:09-cr-20133-JWL       Document 604      Filed 01/14/11    Page 1 of 13




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                 Plaintiff,            )
                                       )
      v.                               )              Case No. 09-20133-JWL
                                       )
GLADSTONE MCDOWELL, et al.,            )
                                       )
                 Defendants.           )
                                       )
_______________________________________)


                         MEMORANDUM AND ORDER

      The matter is presently before the Court on motions to suppress filed by

defendants Sheldon McIntosh (Doc. # 333), Curtis Pitter (who refers to himself as

Michael Francois) (Doc. # 338), Ibrahima Kane (Doc. # 341), Dwight Rhone (Doc. #

357), and Theodore McDowell (Doc. # 479), relating to searches of a house and vehicle

in Arizona on May 2, 2007. Defendant Samora McIntosh has also joined in these

motions (see Doc. # 363). The Court conducted hearings on these motions on November

16, 2010, and January 3, 2011. The Court has considered the briefs submitted by the

parties and the evidence and argument presented at the hearings, and it denies the

motions to suppress.



      I.     Evidence Presented

      Avondale, Arizona Police Officer Reggie Sayles testified as follows: Avondale
 Case 2:09-cr-20133-JWL         Document 604       Filed 01/14/11     Page 2 of 13




police received a request from a neighboring city’s police department to help locate a

woman wanted in connection with an assault. At approximately midnight on the

morning of May 2, 2007, Officer Sayles was told that the woman might be at a residence

in Avondale, and he proceeded to that address. When he did not spot the woman’s

vehicle, he intended to inquire about the woman at the front door, and he proceeded

down the sidewalk and up the driveway of the house. When he came within ten feet of

the garage, he detected the odor of fresh, unburned marijuana. He could still smell the

marijuana at the front door, but the odor was strongest at the closed garage door. He had

no doubt that he smelled marijuana. Instead of inquiring at the front door, Officer Sayles

called for additional officers, for safety purposes and for additional witnesses to the

marijuana odor. Eventually a canine officer was requested, and the dog alerted to the

presence of marijuana at the garage. Officer Sayles then returned to his car to take up

a surveillance position away from the house.

       At approximately 4:00 a.m. that same day, Officer Sayles was told by other

officers that a van had been seen leaving the residence. Officer Sayles saw the van

proceeding without headlights, with only the parking lights on, in violation of Arizona

law. He also noted that the van’s license plate was hanging from its place with only one

screw, also in violation of Arizona law. (A photograph of the license plate introduced

into evidence shows one side hanging approximately one inch lower than if it had been

affixed with two screws.) Officer Sayles then stopped the van approximately one-half

mile from the residence, and he was joined by Officer Freeman Carney. When Officer

                                            2
 Case 2:09-cr-20133-JWL         Document 604       Filed 01/14/11    Page 3 of 13




Carney approached the driver of the van, he smelled fresh, unburned marijuana. The

officers then detained the driver, defendant Curtis Pitter, and searched the vehicle. The

officers found paraphernalia commonly used for packing marijuana, including bags, axle

grease, cedar chips, packing peanuts, and saran wrap that contained marijuana leaves.

       Officer Carney testified that he heard that Officer Sayles was conducting a traffic

stop, and he decided to provide backup for the stop. He approached the driver, Mr.

Pitter, and detected the strong odor of marijuana. The officers then detained Mr. Pitter,

conducted the search, and subsequently arrested Mr. Pitter.

       Officer Thomas Baker testified that he arrived at the Avondale residence after

Officer Sayles requested additional officers, and that he detected the very strong,

overpowering odor of fresh, unburned marijuana. As with a typical situation involving

a possible drug stash house, a police supervisor was called. In addition, a canine unit

was called to the residence, and the dog’s handler, Officer Melrose, indicated that the

dog had alerted to the presence of marijuana at the garage door. Officers then decided

to obtain a search warrant for the residence.

       Avondale Police Sergeant Jonathon Martin testified as follows: Sergeant Martin

arrived at the house at approximately 2:00 a.m., where he met Officer Sayles, Officer

Baker, and Sergeant Armstrong. Sergeant Armstrong stated that he and the other officers

had detected the odor of marijuana. Sergeant Martin also detected the odor of fresh

marijuana emanating from a vent above the garage door. Sergeant Martin testified that

he had previously worked with the canine handler, Officer Melrose, and that Officer

                                            3
 Case 2:09-cr-20133-JWL         Document 604       Filed 01/14/11     Page 4 of 13




Melrose had been trained in canine searches. After approximately 30 minutes at the

house, Sergeant Martin returned to his office to begin his affidavit for an application for

a search warrant. Sergeant Martin also included information concerning the traffic stop

of the van in his affidavit. When he completed the application, he faxed it to Superior

Court Commissioner Michael Barth and then spoke with the Commissioner by

telephone. Commissioner Barth made certain interlineations in the affidavit and warrant

for Sergeant Martin, and the Commissioner signed and faxed back the affidavit and

warrant, which also included a file stamp from Commissioner Barth’s office. Sergeant

Martin received the signed warrant at approximately 7:00 a.m., and the warrant was then

executed at the residence. After the search, Sergeant Martin completed and filed a return

on the warrant.

       Defendants’ only witness in support of their motions to suppress was Donald

Lock, a handwriting expert. Mr. Lock testified that the Commissioner’s signature on the

warrant application contained characteristics of non-genuineness. For instance, the

signature indicated four or five pen lifts, which could be associated with an attempt to

emulate a signature. Mr. Lock also noted that the signature on the application differed

materially from the Commissioner’s signature on the actual search warrant. Moreover,

Mr. Lock noted that the initial letter “M” in the Commissioner’s signature on the

application was similar to an “M” in the signature of Sergeant Martin on the application.

Mr. Lock testified, however, that he could not say conclusively or to a reasonable

certainty that two different people signed the Commissioner’s name on the application

                                            4
 Case 2:09-cr-20133-JWL         Document 604       Filed 01/14/11     Page 5 of 13




and on the warrant, or that the same person signed the names of both the Commissioner

and Sergeant Martin on the application. Mr. Lock testified that the Commissioner’s

signature on the warrant contained one or two pen lifts, but “looked pretty good,” in the

sense that it did not contain significant characteristics of non-genuineness. Mr. Lock

conceded that a typical person may use three or more different signature styles, including

a scribbling signature and more formal signatures where the distinct letters may be read.

Mr. Lock had one exemplar of Commissioner Barth’s signature, contained on a loyalty

oath, but that signature was made in a more formal style.

       In rebuttal, the Government offered into evidence an affidavit in which

Commissioner Barth stated that although he did not recall this particular warrant, he had

no reason to believe that he would not have followed his standard practice of signing the

application and warrant himself; that the signatures on the application and warrant are

indeed his; and that the interlineations on both documents are in his handwriting. The

affidavit contains a “scribbling style” signature for Commissioner Barth that is different

from the signatures on the application and warrant. Mr. Lock was not asked to offer any

opinions about the signature on Commissioner Barth’s affidavit.



       II.    Search of the Vehicle

       Defendant Curtis Pitter challenges the search of the van that he drove from the

Avondale residence. “[T]he burden is on the defendant to prove that the challenged

seizure was illegal under the Fourth Amendment.” United States v. Long, 176 F.3d

                                            5
  Case 2:09-cr-20133-JWL          Document 604        Filed 01/14/11     Page 6 of 13




1304, 1307 (10th Cir. 1999). Mr. Pitter has not argued that Officer Sayles had no basis

to stop the van, and the Court concludes that the stop was justified. Officer Sayles

testified credibly that Mr. Pitter did not activate his headlights while driving at night, that

the license plate was not properly affixed, and that Mr. Pitter therefore operated the

vehicle in violation of Arizona law. See United States v. Botero-Ospina, 71 F.3d 783,

787 (10th Cir. 1995) (“[A] traffic stop is valid under the Fourth Amendment if the stop

is based on an observed traffic violation or if the police officer has reasonable articulable

suspicion that a traffic or equipment violation has occurred or is occurring.”).

       The Court rejects Mr. Pitter’s argument that the subsequent search of the van was

improperly based only on a generalized suspicion of crime, as the totality of the

circumstances—the odor of marijuana coming from the van, to which Officer Carney

credibly testified, and the fact that the van had just left the garage where a similar odor

had been detected—provided probable cause for the search of the van. See United States

v. Downs, 151 F.3d 1301, 1303 (10th Cir. 1998) (“the odor of marijuana alone can

satisfy the probable cause requirement to search a vehicle”) (quoting United States v.

Morin, 949 F.2d 297, 300 (10th Cir. 1991)).

       Mr. Pitter primarily takes issue with Officer Sayles’s testimony that although he

believed at the time that he had probable cause to arrest Mr. Pitter prior to the search of

the van, he presently believes that he had reasonable suspicion to detain Mr. Pitter and

probable cause to search the vehicle. Mr. Pitter appears to argue that the officers

effected his arrest before the search without probable cause. The circumstances that

                                              6
 Case 2:09-cr-20133-JWL          Document 604        Filed 01/14/11      Page 7 of 13




justified the search, however, also provided probable cause to detain Mr. Pitter. See

United States v. Ozbirn, 189 F.3d 1194, 1200 (10th Cir. 1999) (odor of marijuana

provided reasonable suspicion and probable cause to justify detaining driver). Moreover,

Mr. Pitter has not pointed to any authority supporting the position that the presence of

probable cause may somehow be undone by the officer’s mistaken belief concerning the

legal effect of the circumstances presented to him. It is clear that probable cause existed

here to justify the search of the van, and therefore the Court denies the motion to

suppress evidence obtained from that search.



       III.    Search of the House

               A.     Probable Cause for Warrant

       With respect to the search of the residence, the Court first rejects defendants’

argument that the search warrant was not supported by the necessary probable cause.

As stated in the affidavit supporting the warrant application, a number of officers and a

canine detected the odor of marijuana at the residence, and a van that left the residence

contained marijuana wrappings. The Court does not agree that Officer Sayles must not

really have detected that odor in light of his request for other officers and the canine unit,

or that the observations of the other officers were tainted by the knowledge that Officer

Sayles had smelled marijuana. Officer Sayles, Officer Baker, and Sergeant Martin all

testified credibly that they did smell marijuana, and they also testified that the canine

alerted to the drug’s presence. Defendants also questioned at the hearing whether

                                              7
 Case 2:09-cr-20133-JWL          Document 604        Filed 01/14/11      Page 8 of 13




Officer Sayles was truly searching for a particular woman at the residence, but whatever

his motivation for being there, the odor of marijuana provided the necessary probable

cause for a search.

       Defendants have also noted that the warrant application did not contain any

details concerning the training, experience, or reliability of the canine and his handler.

The application did note that the dog had been certified in the detection of marijuana and

other narcotics, however. See United States v. Kennedy, 131 F.3d 1371, 1376-77 (10th

Cir. 1997) (warrant is sufficient if affidavit states that the dog is trained and certified to

detect narcotics). Defendants have not shown that the dog in fact was unqualified. See

United States v. Clarkson, 551 F.3d 1196, 1203 (10th Cir. 2009) (“A party seeking to

suppress evidence bears the burden of proving the dog is unqualified.”). Moreover, the

fact that multiple officers smelled marijuana provided probable cause even without the

dog’s confirmation.

       Finally, defendants argue that because the officers and the canine did not reaffirm

that the smell of marijuana was still present at the residence after the van had left, there

was no probable cause to believe that marijuana remained at the residence at the time the

warrant was issued. The Court rejects this argument. The fact that a vehicle had left did

not necessarily mean that no marijuana remained. In addition, the search of the van

yielded only drug paraphernalia, which would have suggested that the drugs remained

at the residence. Finally, the application also sought a warrant to search for evidence of

the crime, which would include other items that might still have been present at

                                              8
 Case 2:09-cr-20133-JWL         Document 604        Filed 01/14/11     Page 9 of 13




residence even if the marijuana had been removed.

              B.     Entry onto Property

       Defendant Sheldon McIntosh argues in his motion that because no basis has been

articulated to link the sought-for woman to this residence, Officer Sayles’s stated reason

for approaching the residence (to ask for that woman) was pretextual; and that Officer

Sayles therefore violated the Fourth Amendment by entering the curtilage of the

residence or even by trespassing without proper justification. The Supreme Court has

“recognized that the Fourth Amendment protects the curtilage of a house and that the

extent of the curtilage is determined by factors that bear upon whether an individual

reasonably may expect that the area in question should be treated as the home itself.”

United States v. Dunn, 480 U.S. 294, 300 (1987) (citing Oliver v. United States, 466 U.S.

170, 180 (1984)). “[C]urtilage questions should be resolved with particular reference to

four factors: the proximity of the area claimed to be curtilage to the home, whether the

area is included within an enclosure surrounding the home, the nature of the uses to

which the area is put, and the steps taken by the resident to protect the area from

observation by people passing by.” Id. at 301. The defendant bears the burden with

respect to a claim of an invasion of the curtilage. See United States v. Cavely, 318 F.3d

987, 994 (10th Cir. 2003).

       The Court finds that defendant has failed to satisfy that burden in this case. First,

the Court does not find the pretext urged by Mr. McIntosh, as the Court finds credible

Officer Sayles’s testimony that he was asked to look for a woman or her vehicle at the

                                             9
 Case 2:09-cr-20133-JWL        Document 604       Filed 01/14/11    Page 10 of 13




Avondale address; accordingly, the officer had a valid reason for proceeding along the

sidewalk and up the driveway toward the front door of the residence. Second, Mr.

McIntosh has not shown that the sidewalk or the driveway (from which Officer Sayles

detected the odor of marijuana), which were not enclosed and were completely open to

the public, should be included in the area reasonably expected to be treated as a part of

the home itself. See, e.g., United States v. Hatfield, 333 F.3d 1189, 1194-95 (10th Cir.

2003) (open driveway was not part of curtilage; noting that “[w]hen the police come on

to private property to conduct an investigation and restrict their movements to places

visitors could be expected to go (e.g., walkways, driveways, porches), observations made

from such vantage points are not covered by the Fourth Amendment”) (citations

omitted). Accordingly, the Court rejects this basis for suppression of the evidence

obtained in the search of the residence.

               C.    Signatures on the Warrant and Application

       As their final argument for suppression, defendants argue that the Court should

find that Commissioner Barth did not sign the affidavit in the application for the search

warrant. Defendants further argue, without supporting authority, that the Court should

then deem the warrant to be invalid. In support of these arguments, defendants rely on

Mr. Lock’s testimony that the application signature bears indicia of non-genuineness, as

well as the fact that it supposedly took Sergeant Martin so long to complete the

application.

       The Court rejects this basis for suppression. The Court finds credible Sergeant

                                           10
 Case 2:09-cr-20133-JWL        Document 604       Filed 01/14/11     Page 11 of 13




Martin’s testimony that he talked with Commissioner Barth on the telephone, that

Commissioner Barth indicated that he was signing the affidavit and warrant, and that he

received both documents back by fax with the Commissioner’s signatures.

Commissioner Barth has also sworn in an affidavit that he routinely signs the application

and warrant himself and that he can identify these signatures (as well as the

interlineations) as his. The Court finds that Mr. Lock was also credible in his testimony,

but most significantly, he could not opine that Commissioner Barth in fact did not sign

the application. Moreover, the Court finds from common experience that pen lifts can

easily occur in a genuine signature.      In addition, the fact that the signature on

Commissioner’s Barth’s recent affidavit is unique among the signatures in evidence

suggests that the Commissioner does not sign his name in a consistent fashion, which

could explain differences between the signatures on the warrant and the application.

       The Court also notes that the totality of the circumstances does not suggest a

forgery here. In particular, the fact that the signatures for Commissioner Barth on the

warrant and the application are different does not further defendants’ argument, but

rather appears to undermine it. For instance, if both signatures were forged and the

forger was attempting to copy a known signature by the Commissioner, the signatures

would likely be more similar. On the other hand, if the Commissioner signed the warrant

but forgot to sign the application, there is no reason why Sergeant Martin would not

simply have pointed out that mistake and had the Commissioner sign the application as

well. Defendants have not provided a logical and likely explanation for the two

                                           11
 Case 2:09-cr-20133-JWL        Document 604         Filed 01/14/11   Page 12 of 13




signatures other than their being genuine. Accordingly, even if one or two forged

signatures could provide a basis for invalidation of the warrant, defendants have not met

their burden to prove any forgeries in this case.

       The Court also concludes that, even if Commissioner Barth did not sign the

warrant or application and the warrant should be deemed invalid, suppression would still

not be appropriate because of the good-faith exception to the exclusionary rule. See

United States v. Leon, 468 U.S. 897 (1984) (because purpose of rule would not be

furthered by suppression, exclusionary rule does not apply if officers in good faith and

reasonably relied on a facially valid search warrant). Defendants have not cited any

caselaw to support their argument that the good-faith exception to the exclusionary rule

should not apply here, and the Court concludes that because the purpose of the rule

would not be furthered by its application, the good-faith exception should apply in these

circumstances. See United States v. Callwood, 66 F.3d 1110, 1113 (10th Cir. 1995)

(good-faith exception to the exclusionary rule applies where officer was not given an

oath when requesting a search warrant).

       Applying the exception in this case, even if the Court were to believe, based on

Mr. Lock’s testimony, that the signatures for Commissioner Barth are not genuine (the

Court does not so believe), it would find that there is not sufficient evidence that

Sergeant Martin (instead of some clerk acting on Commissioner Barth’s behalf) was

responsible for the forgeries, or that Sergeant Martin should have recognized that the

signatures were not genuine (despite the presence of the Commissioner’s file-stamp).

                                           12
 Case 2:09-cr-20133-JWL        Document 604        Filed 01/14/11     Page 13 of 13




Thus, there is no basis to find that Sergeant Martin did not rely on the warrant reasonably

and in good faith.

       For all these reasons, the Court denies defendants’ motions to suppress evidence

obtained from the search of the Avondale residence.1



       IT IS THEREFORE ORDERED BY THE COURT THAT defendants’ motions

to suppress evidence obtained as a result of searches of a house and vehicle in Arizona

on May 2, 2007 (Doc. ## 333, 338, 341, 357, 479) are denied.


       IT IS SO ORDERED.


       Dated this 14th day of January, 2011, in Kansas City, Kansas.


                                                   s/ John W. Lungstrum
                                                   John W. Lungstrum
                                                   United States District Judge




       1
       Defendant Theodore McDowell argued in his motion that the police failed to file
an inventory and return on the search warrant. After the Government provided a file-
stamped copy of the return, Mr. McDowell withdrew that argument in his reply brief.

                                            13
